 Case 2:21-cv-10032-SFC-KGA ECF No. 6, PageID.31 Filed 03/03/21 Page 1 of 2

                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF MICHIGAN


 KHARI WHEELER, individually and on behalf of all                       CLASS ACTION
 others similarly situated,
                                                               Case No. 2:21-cv-10032-SFC-KGA
       Plaintiff,
                                                                  JURY TRIAL DEMANDED
 vs.

 DETROIT CAREGIVERS CENTER
 ASSOCIATION, LLC D/B/A GREEN CROSS, a
 Michigan Limited Liability Company,

   Defendant.
 ______________________________________/

                         NOTICE OF DISMISSAL WITH PREJUDICE

           Plaintiff, Khari Wheeler, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), does

hereby dismiss this this action as follows:

           1.       All claims of the Plaintiff, Khari Wheeler, individually, are hereby dismissed with

prejudice.

           2.       All claims of any unnamed member of the alleged class are hereby dismissed

without prejudice.



Date: March 03, 2021

Respectfully Submitted,

Shamis & Gentile, P.A.
/s/ Andrew J. Shamis
Andrew J. Shamis, Esq.
Florida Bar No. 101754
ashamis@shamisgentile.com
14 NE 1st Avenue, Suite 705
Miami, FL 33132
Telephone: 305-479-2299

Counsel for Plaintiff and the Class
Case 2:21-cv-10032-SFC-KGA ECF No. 6, PageID.32 Filed 03/03/21 Page 2 of 2



                                   CERTIFICATE OF SERVICE

        I hereby certify that on March 03, 2021, I electronically filed the foregoing document with
the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served
this day on all counsel identified below via transmission of Notices of Electronic Filing generated
by CM/ECF or in some other authorized manner.

Respectfully submitted,
                                              SHAMIS & GENTILE, P.A.
                                              14 NE 1st Ave., Suite 705
                                              Miami, FL 33132
                                              Telephone (305) 479-2299
                                              Facsimile (786) 623-0915
                                              Email: efilings@sflinjuryattorneys.com

                                      By:      /s/ Andrew J. Shamis
                                               Andrew J. Shamis, Esq.
                                               Florida Bar # 101754


                                              Counsel for Plaintiff and the Class
